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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Barbara Earnest, 16-17144                           )


                                 ORDER AND REASONS
         Before the Court is Defendants’ Motion for Summary Judgment Based
on Preemption (Doc. 6186). The Court heard oral argument on July 25, 2019.
For the following reasons, the Motion is DENIED IN PART and DEFERRED
IN PART.


                                      BACKGROUND
         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer and other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring state law claims of failure to warn, negligent
misrepresentation, fraudulent misrepresentation, and more.
         The first bellwether trial of Plaintiff Barbara Earnest (“Plaintiff”) is set
to begin September 16, 2019. In the instant Motion, Defendants argue that
Plaintiff’s claims are preempted. While Defendants raise preemption
arguments relating to other Plaintiffs in the MDL, the Court will defer ruling
on those arguments until a later date. With regard to Plaintiff Earnest,

1   Docetaxel is the generic version of Taxotere.
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Defendants argue that at the time she was administered Taxotere in 2011,
federal law precluded Sanofi from using stronger language in the drug’s label.
         According to Defendants, the FDA approved the use of Taxotere for
advanced or metastatic breast cancer in 1996. The initial labeling identified
alopecia as a possible side effect of the drug. Specifically, in an insert for
patients, the label listed “Hair Loss” as a side effect and advised that “[l]oss of
hair occurs in most patients.” The label further told patients that “[o]nce you
have completed all your treatments, hair generally grows back.” In their
briefing, Defendants write that “[t]his FDA-approved language in the patient
package insert concerning ‘Hair Loss’ was the same from the time of initial
approval in 1996 until May 2010 when [the] FDA began making class-wide
changes to the patient information leaflet for taxanes.”
         In 2004, Sanofi submitted a supplemental application to the FDA
seeking approval to use Taxotere in combination with two other drugs,
doxorubicin and cyclophosphamide, for the treatment of patients with
operable, “node-positive” breast cancer. With this submission, Sanofi provided
the FDA with results from “TAX 316,” a clinical study conducted by Sanofi.
Notably, the “primary objective” of TAX 316 was to evaluate survival rates, not
the occurrence of alopecia. 2 In addition to providing the FDA with the TAX 316
results, Sanofi proposed new label language relating to the new proposed use
of the drug. In the “Adverse Reactions” section of the label, Sanofi proposed
adding a subsection called “Other persistent reactions.” The subsection
mentioned alopecia. Defendants aver that after an “extensive series of
communications between [the] FDA and Sanofi,” the FDA sent Sanofi edits and
comments on the proposed revisions to the label. The correspondence shows
that an FDA employee named Ann Staten deleted the entire proposed


2   See Doc. 6186-2 at 47.
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subsection on “Other persistent reactions.” No reason was provided for this
deletion. The FDA then approved the supplemental application without the
proposed subsection on “Other persistent reactions.”
         In 2009, Sanofi submitted another supplemental application to the FDA,
seeking approval to use Taxotere in combination with doxorubicin and
cyclophosphamide for the treatment of patients with operable, “node-negative”
breast cancer. This time, Sanofi provided the FDA with the results of another
study called the “GEICAM 9805” study. As with the TAX 316 study, the
“primary goal” of this study was to evaluate survival rates, not the occurrence
of ongoing alopecia. The supplemental application noted that, per the study,
6.1 percent of patients who took a Taxotere-containing regimen had ongoing
alopecia compared with 2.9 percent of patients who took another combination.
In their briefing, Defendants write that “[t]he supplemental [application] also
included proposed changes to the Taxotere label reflecting these findings from
the GEICAM 9805 study.” Defendants’ briefing is unclear on whether these
proposed changes were adopted.
         Sanofi is vague about whether it submitted the GEICAM 9805 study to
the FDA as part of an effort to obtain stronger label language regarding
permanent alopecia or whether instead this submission was an “efficacy
supplement.” In the expert report Sanofi cites on its 2009 dealings with the
FDA, the expert writes that “Sanofi withdrew the GEICAM 9805 efficacy
supplement.” 3 (This would explain why Sanofi fails to make clear whether the
FDA adopted its “proposed changes” regarding the GEICAM 9805 study.)
Notably, Sanofi fails to define for the Court what an “efficacy supplement” is.




3   Doc. 6186-2 at 54 (emphasis added).
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                                 LEGAL STANDARD
       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 4 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 5 When
considering a summary judgment motion, the Court must view the entire
record in the light most favorable to the non-moving party and indulge all
reasonable inferences in that party’s favor. 6


                                LAW AND ANALYSIS
       “The Supremacy Clause establishes that federal law ‘shall be the
supreme Law of the Land . . . any Thing in the Constitution or Laws of any
State to the Contrary notwithstanding.’” 7 Where state and federal law are in
direct conflict with each other, “state law must give way.” 8 Known as
impossibility preemption, this is “a demanding defense,” requiring a defendant
“to demonstrate that it was impossible to comply with both federal and state
requirements.” 9
       A preemption analysis must be guided by the two cornerstones of
preemption jurisprudence. 10 First, a court should consider “the purpose of
Congress.” 11 Second, in all preemption cases, a court must assume “that the




4 FED. R. CIV. P. 56.
5 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
6 Crawford v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000).
7 PLIVA, Inc. v. Mensing, 564 U.S. 604, 617 (2011) (quoting U.S. CONST., Art. VI, cl. 2).
8 Id.
9 See Wyeth v. Levine, 555 U.S. 555, 573 (2009).
10 Id. at 565.
11 Id. (internal citations omitted).


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historic police powers of the States were not to be superseded by the Federal
Act unless that was the clear and manifest purpose of Congress.” 12
         In Wyeth v. Levine, in considering the “purpose of Congress” behind the
FDA, the United States Supreme Court reviewed the history of federal
regulation of drugs and drug labeling. 13 In the 1930s, Congress enacted the
Federal Food, Drug and Cosmetic Act (“FDCA”). 14 The FDCA required every
manufacturer to submit a “new drug application” (“NDA”) to the FDA for
review.     15   In the application, a manufacturer had to include reports of
investigations and “specimens of proposed labeling.” 16 Until an application
became effective, a manufacturer could not distribute a drug. 17 If the FDA
determined that a drug was not safe to use as labeled, the FDA could reject an
application. 18 If the FDA failed to act on an application, it became effective 60
days after being filed. 19
         In 1962, Congress amended the FDCA and shifted the burden of proof
from the FDA to the manufacturer. 20 Under this framework, instead of the
FDA proving harm to keep a drug off the market, the manufacturer had to
show that its drug was “safe for use under the conditions prescribed,
recommended, or suggested in the proposed labeling” before distributing the
drug. 21 In the 1962 amendments, “Congress took care to preserve state law.” 22
The amendments included a clause indicating that “a provision of state law


12   Id. (internal citations omitted).
13   See id. at 566–68.
14   Id. at 566.
15   Id.
16   Id.
17   Id.
18   Id.
19   Id.
20   Id. at 567.
21   Id.
22   Id.

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would only be invalidated upon a ‘direct and positive conflict’ with the
FDCA.” 23
       In 2007, Congress again amended the FDCA, granting the FDA
“statutory authority to require a manufacturer to change its drug label based
on safety information that becomes available after a drug’s initial approval.” 24
In doing so, Congress did not require the FDA to preapprove all changes to
drug labels. 25 Instead, Congress made clear that manufacturers “remain
responsible for updating their labels.” 26
       In the instant case, Plaintiff brings a failure to warn claim under the
Louisiana Products Liability Act (“LPLA”). “The language of the LPLA
provides that a plaintiff may prevail on her failure to warn claim if ‘[1] the
product possessed a characteristic that may cause damage and [2] the
manufacturer failed to use reasonable care to provide an adequate warning of
such characteristic and its danger to users and handlers of the product.’” 27
Defendants argue that it was impossible to comply with both these state law
duties and its federal labeling duties.
       Generally, a manufacturer may only change a drug label after the FDA
approves a supplemental NDA. 28 However, a manufacturer may make changes
to its label prior to receiving FDA approval under the “changes being effected”
(“CBE”) regulation. 29 Pursuant to the CBE regulation, “if a manufacturer is
changing a label to ‘add or strengthen a contraindication, warning, precaution,
or adverse reaction’ or to ‘add or strengthen an instruction about dosage and

23 Id. (quoting the FDCA).
24 Id.
25 Id.
26 Id. at 568.
27 Grenier v. Med. Eng’g Corp., 243 F. 3d 200, 205 (5th Cir. 2001) (quoting LA. REV. STAT.
ANN. § 9:2800.57).
28 Levine, 555 U.S. at 568.
29 Id.


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administration that is intended to increase the safe use of the drug product,’ it
may make the labeling change upon filing its supplemental application with
the FDA; it need not wait for FDA approval.” 30
       Like the manufacturer in Levine, Sanofi argues that the CBE regulation
is not implicated in this case because the regulation provides that a
manufacturer may only change its label “to reflect newly acquired
information.” 31 Sanofi argues that “the plaintiff must show that there existed
‘newly acquired information’ such that the defendants could unilaterally
change the label pursuant to the CBE regulation without prior FDA
approval.” 32 According to Sanofi, it was impossible to discharge its state law
obligation to provide a stronger warning without violating federal law.
       Like the manufacturer in Levine, “[Sanofi] misapprehends both the
federal drug regulatory scheme and its burden in establishing a pre-emption
defense.”   33   The Supreme Court in Levine held that “‘newly acquired
information’ is not limited to new data, but also encompasses ‘new analyses of
previously submitted data.’” 34 The Court continued:
       The rule accounts for the fact that risk information accumulates
       over time and that the same data may take on a different meaning
       in light of subsequent developments: “[I]f the sponsor submits
       adverse event information to FDA, and then later conducts a new
       analysis of data showing risks of a different type or of greater
       severity or frequency than did reports previously submitted to




30 Id. (quoting 21 U.S.C. § 355; 21 CFR §§ 314.70(c)(6)(iii)(A), (C).
31 Id.
32 Doc. 6186 at 13.
33 Levine, 555 U.S. at 569.
34 Id. (quoting 73 Fed. Reg. 49604).


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       FDA, the sponsor meets the requirement for ‘newly acquired
       information.’” 35

Of course, the FDA retains authority to reject labeling changes made pursuant
to the CBE regulation. 36 However, “absent clear evidence that the FDA would
not have approved a change to [a manufacturer’s] label,” a court should not
conclude that it was impossible for the manufacturer to comply with both
federal and state requirements. 37
       Recently, in Merck Sharp & Dohme Corp. v. Albrecht, the Supreme Court
considered this “clear evidence” standard. “Clear evidence” is evidence showing
that the manufacturer “fully informed the FDA of the justifications for the
warning required by state law and that the FDA, in turn, informed the drug
manufacturer that the FDA would not approve a change to the drug’s label to
include that warning.” 38 Precisely what kind of communications constitute
clear evidence of disapproval is a question of law for a judge to decide. 39
       Defendants have failed to demonstrate that the FDA prohibited Sanofi
from using stronger language in Taxotere’s label. Defendants do not point to
any attempted CBE change nor have they presented “clear evidence” that the
FDA would not have approved a change to the Taxotere label. They have not
shown that Sanofi fully informed the FDA of the justifications for a stronger
warning on the risk of permanent alopecia and that the FDA, in turn, decided
that it would not approve a change to the label that included the warning.
Defendants do not provide the Court with a formal administrative record
showing that, as reports of permanent hair loss accumulated, Sanofi alerted
the FDA and made a deliberate effort to change the language of the label.


35 Id. (quoting 73 Fed. Reg. 49607).
36 Id. at 571.
37 Id.
38 Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1678 (2019).
39 See id. at 1679.

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         The Court is not persuaded by the evidence that Sanofi has submitted
regarding its communications with the FDA in 2004 and 2009. As the Court
interprets the evidence, the purpose of these communications was to decide on
how to market and label Taxotere for its new uses—the treatment of operable,
node-positive breast cancer and operable, node-negative breast cancer. Sanofi
was not trying to alert the FDA of an uptick in reports of permanent alopecia
but instead trying to expand the distribution of its drug. The references to
alopecia appear tangential at best. Indeed, the 2009 submission to the FDA
was an “efficacy supplement.” Without a better explanation from Sanofi, the
Court presumes that the goal of an “efficacy supplement” is to provide evidence
of a drug’s efficacy, not to alert the FDA of the need for stronger label language.
         At    oral   argument,   Defendants’   counsel   emphasized     that   the
manufacturer provided the FDA with stacks of documents reflecting any
information that would have supported stronger label language. Counsel
argued that despite having this information the FDA did not request a stronger
label. This is a misapplication of the law. As the Levine Court wrote, the duty
is on the manufacturer, not the FDA, to “craft[] an adequate label
and . . . ensur[e] that its warnings remain adequate as long as the drug is on
the market.” 40 The duty was on Sanofi to alert the FDA about an uptick in
reports of permanent alopecia. Accordingly, it is of no moment that Sanofi
inundated the FDA with study reports whenever Sanofi was seeking approval
to expand the distribution of its drug. This falls short of fully informing the
FDA of the justifications for a stronger label.
         Defendants have failed to carry their burden of showing that Sanofi was
prohibited from adding stronger language to the Taxotere label before



40   Levine, 555 U.S. at 571.
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Earnest’s treatment in 2011. Accordingly, impossibility preemption does not
bar Plaintiff’s claims.


                                CONCLUSION
      For the foregoing reasons, IT IS ORDERED that Defendants’ Motion
for Summary Judgment Based on Preemption (Doc. 6186) is DENIED insofar
as it relates to Plaintiff Barbara Earnest. The Motion is DEFERRED insofar
as it relates to other Plaintiffs in the MDL.
      New Orleans, Louisiana this 14th day of August, 2019.



                                        JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE




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